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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


  ESTATE OF GEORGE BERNARD                 Case No. 4:22-cv-11009
  WORRELL, JR.,
                                           District Judge F. Kay Behm
                Plaintiff,
  v.                                       Magistrate Judge David R. Grand
  THANG, INC., and GEORGE
  CLINTON.

               Defendants.
                                                                             /


                             INDEX OF EXHIBITS


 Exhibit A                     Worrell Deposition Transcripts

 Exhibit B                     Facebook Post

 Exhibit C                     1979 Worrell Audit

 Exhibit D                     1981 Complaint

 Exhibit E                     1984 Complaint

 Exhibit F                     Miebach Invoice

 Exhibit G                     Payment Records

 Exhibit H                     Judge Real Order

 Exhibit I                     Clinton Declaration

 Exhibit J                     Copyright Spreadsheet

 Exhibit K                     Judie Blog
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 Exhibit L                     Worrell Red Bull Music

 Exhibit M                     Ascap Interview

 Exhibit N                     1978 Article

 Exhibit O                     2012 Article

 Exhibit P                     1985 Article

 Exhibit Q                     Worrell Declaration




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